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      Pharmaceuticals U.S.A., Inc.
11
12                         UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14    ALAN WEISBERG, individually and on Case No. 2:18-cv-00784 PA (JCx)
      behalf of all others similarly situated,
15                                             Assigned to: Hon. Percy Anderson
                    Plaintiff,
16                                             DEFENDANT TAKEDA
      vs.                                      PHARMACEUTICALS U.S.A.,
17                                             INC.’S REPLY IN SUPPORT OF ITS
      TAKEDA PHARMACEUTICALS                   OBJECTION TO PLAINTIFF’S
18    U.S.A., INC.                             RELIANCE ON NEW EVIDENCE
                                               AND A NEW CLASS DEFINITION
19                  Defendant.                 IN HIS REPLY IN SUPPORT OF
                                               MOTION FOR CLASS
20                                             CERTIFICATION (DKT. 88)
21                                                Date: July 16, 2018
                                                  Time: 1:30 p.m.
22                                                Place: Courtroom 9A
                                                         350 W. First Street, 9th Floor
23                                                       Los Angeles, CA 90012
24
25
26
27
28
       DEFENDANT’S REPLY IN SUPPORT OF OBJECTION TO PLAINTIFF’S RELIANCE ON NEW EVIDENCE
       AND A NEW CLASS DEFINITION IN HIS REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION

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  1               In addition to its caustic tone and overheated rhetoric, Plaintiff Devin “Alan”
  2   Weisberg’s Response (“Response”) to Defendant Takeda Pharmaceuticals U.S.A.,
  3   Inc.’s (“Takeda”) Objection to Plaintiff’s reliance on new evidence and a new class
  4   definition in his class certification reply, see Dkt. 92, only compounds the
  5   unfairness that prompted Takeda’s Objection. Takeda has no objection to proper
  6   rebuttal evidence. But Takeda does object to Weisberg’s use of his reply brief to
  7   introduce new evidence and new class definitions that could and should have been
  8   included in the Motion. Weisberg’s tactic is not “rebuttal,” it is sandbagging, and it
  9   has deprived Takeda of the ability to substantively address the defects in
10    Weisberg’s new evidence and class definitions. This Court should strike the new
11    evidence and class definitions or grant Takeda leave to file a brief sur-reply.
12    I.          Weisberg’s lack of diligence—not any “scam” or “shenanigans” by
                  Takeda—is the only reason for his tardy evidence and class definitions.
13
                  Weisberg contends that his tardy evidence and class definitions are excusable
14
      because Takeda’s “gamesmanship,” “shenanigans,” and “broken promises”
15
      somehow prevented him from obtaining the evidence at issue before filing his
16
      Motion. Dkt. 92 at 3-4. Weisberg’s assertions are untrue.
17
                  The first time that Weisberg asked Takeda for any discovery was on May 31,
18
      2018—four months after the case was filed, more than three weeks after this Court
19
      denied Takeda’s motion to dismiss, see Dkt. 64, and only 11 days before his
20
      Motion was due. Contrary to Weisberg’s contention that Takeda “could have . . .
21
      made [Mr. Woods] available for deposition earlier,” Dkt. 92 at 5, Weisberg never
22
      requested an earlier date—as reflected in the Joint Rule 26(f) Report, June 25 was
23
      the date that Weisberg chose. See Dkt. 76 at 5. Moreover, Takeda more than kept its
24
      promises about producing documents. Weisberg never even served a formal
25
      document request, but instead, on May 31, asked informally for Takeda to provide
26
      “as soon as possible (a) any records in its files related to Plaintiff, and (b) copies of
27
      the various iterations of Defendant’s Trintellix Savings Card program website.” Id.
28
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       DEFENDANT’S REPLY IN SUPPORT OF OBJECTION TO PLAINTIFF’S RELIANCE ON NEW EVIDENCE
       AND A NEW CLASS DEFINITION IN HIS REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
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  1   at 5. On June 21—10 days sooner than the Federal Rules would have required, see
  2   Fed. R. Civ. P. 34(b)(2)(A)—Takeda produced about 6,000 pages of documents,
  3   consisting of Weisberg-related documents and hundreds of promotional materials,
  4   which was far more than what Weisberg had requested. Dkt. 76 at 5.
  5               In sum, within 25 days of Weisberg first asking for discovery, Takeda had
  6   produced thousands of pages of documents and its Rule 30(b)(6) witness for a
  7   deposition. Had Weisberg requested these materials at the time of this Court’s May
  8   9, 2018, denial of Takeda’s motion to dismiss, he would easily have had them in his
  9   possession before filing his Motion, 33 days later, on June 11. But he did not.
10                Weisberg’s attempt to belatedly submit new evidence that he failed to obtain
11    earlier only because of his own lack of diligence is not “rebuttal;” it is sandbagging.
12    That is particularly true given that Weisberg had the burden of proof for each
13    element of Rule 23, and had to meet that burden in his Motion. See Townsend v.
14    Monster Beverage Corp., 303 F. Supp. 3d 1010 (C.D. Cal. 2018) (“[R]eply briefs
15    are limited in scope to matters either raised by the opposition or unforeseen at the
16    time of the original motion.” (emphasis added)). The fact that Takeda noted
17    Weisberg’s evidentiary failures in its Opposition does not give Weisberg license to
18    tardily attempt to correct them in his Reply. This Court should reject Weisberg’s
19    late-filed evidence and class definitions for that reason alone.
20    II.         Weisberg’s Response further mischaracterizes the new evidence on
                  which he wishes to rely.
21
                  Weisberg’s Response compounds the problems with his Reply by further
22
      mischaracterizing the evidence on which he seeks to rely, adding to Takeda’s
23
      prejudice. In particular, Weisberg justifies his reliance on Woods’s deposition
24
      testimony by contending that Woods’s earlier-submitted declaration in support of
25
      Takeda’s Opposition was a “sham.” Dkt. 92 at 2. That is a patently untrue.
26
                  The “sham affidavit” rule is implicated only where there is a “clear and
27
      unambiguous” “inconsistency between a party’s deposition testimony and . . .
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       DEFENDANT’S REPLY IN SUPPORT OF OBJECTION TO PLAINTIFF’S RELIANCE ON NEW EVIDENCE
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  1   affidavit.” Yeager v. Bowlin, 693 F.3d 1076, 1080 (9th Cir. 2012). Woods’s
  2   deposition and declaration testimony are in perfect accord; Weisberg’s arguments
  3   to the contrary mischaracterize Woods’s testimony. For instance, Weisberg claims
  4   that Woods contradicted his declaration by testifying that the variations in the
  5   marketing materials for the Savings Card program were “immaterial.” Dkt. 92 at 2.
  6   But Woods actually testified that the variations were numerous, that they were
  7   material, and that individual patients would understand those marketing statements
  8   differently. See Supp. Anderson Decl., Ex. A at 135:11-137:17, 144:24-145:11,
  9   154:18-156:1, 168:10-170:13, 174:9-176:16, 192:5-15, 197:23-198:25.
10                Similarly, the Response claims that Woods admitted at his deposition that
11    certain variations in the Savings Card language were made “after this lawsuit was
12    filed.” Dkt. 92 at 5; see id. at 7. But he actually testified that the change to the “Pay
13    as little at $10” language predated this lawsuit and had nothing to do with Weisberg
14    filing it. Supp. Anderson Decl., Ex. A at 138:2-141:23.
15                Finally, the Response contends that Woods “admitted” that Weisberg’s class
16    exceeded 40 people and that, consequently, Takeda “abandon[ed] its numerosity
17    challenge.” Dkt. 92 at 2. But Woods did nothing of the sort. To the contrary, he
18    testified about the number of Savings Card users and the number who might not be
19    able to obtain the $10/month price (although they would still receive the maximum
20    benefit available under the program), but did not give any testimony about the size
21    of Weisberg’s class or the number of people who would actually fit within his class
22    definitions. See Supp. Anderson Decl., Ex. A at 90:8-94:15, 255:11-18. As
23    discussed below, there is no evidence of anyone falling into Weisberg’s new
24    definition (including Weisberg), let alone that the number exceeds 40 people.
25                At bottom, there are no contradictions between Woods’s declaration and his
26    deposition that would excuse Weisberg’s use of his deposition testimony in Reply.
27
28
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       DEFENDANT’S REPLY IN SUPPORT OF OBJECTION TO PLAINTIFF’S RELIANCE ON NEW EVIDENCE
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  1   III.        Weisberg’s Response exacerbates the problems with his belatedly
                  modified class definitions.
  2
                  Weisberg’s Response also highlights the flaws in his newly defined classes.
  3
      Again, Takeda takes no issue with Weisberg’s ability to define proposed classes
  4
      however he so chooses. But his delay in proposing new classes until after Takeda
  5
      filed an Opposition is prejudicial. And the Response only adds to the problems
  6
      plaguing Weisberg’s new class definitions, and heightens the need for Takeda to
  7
      address those problems if the Court is inclined to permit such late modifications.
  8
                  For instance, Weisberg argues that numerosity is met under his new class
  9
      definitions because “commercial insurance was a requirement for . . . eligibility”
10
      and that “15% of 236,000 eligible cardholders” would not have received the
11
      $10/month price. Dkt. 92 at 7. But he has no evidence of (a) the number of patients
12
      who actually registered with any card (as opposed to by website or phone), let alone
13
      the “Pay no more than $10*” card; (b) the number of persons who actually used the
14
      card (as opposed to registering or activating it); (c) the number of putative class
15
      members who reside in California; (d) the number of persons charged more than
16
      $10 who actually went through their purchase; or (e) the number of such persons
17
      who were actually “commercially insured,” let alone commercially insured for
18
      Trintellix purchases. On this last point, it bears noting that Weisberg himself is not
19
      a member of his newly defined class, since he was not “commercially insured” for
20
      the one Trintellix prescription he challenges in this case—a fact about which he was
21
      warned by his insurer before he went through with his purchase. Opposition at 6-8.
22
                                            CONCLUSION
23
                  For the foregoing reasons, this Court should strike Weisberg’s new evidence
24
      and new class definitions, and refuse to consider them in resolving the Motion. In
25
      the alternative, this Court should grant Takeda the opportunity to file a brief sur-
26
      reply responding to the new evidence and new class definitions.
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       DEFENDANT’S REPLY IN SUPPORT OF OBJECTION TO PLAINTIFF’S RELIANCE ON NEW EVIDENCE
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  1
  2   DATED: July 10, 2018                   SIDLEY AUSTIN LLP
  3                                          By:       /s/ Joshua E. Anderson
                                                      Joshua E. Anderson
  4
                                             Attorneys for Defendant
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       AND A NEW CLASS DEFINITION IN HIS REPLY IN SUPPORT OF MOTION FOR CLASS CERTIFICATION
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